                                   Case 19-10655-SMG                    Doc 1         Filed 01/16/19            Page 1 of 4



 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 SOUTHERN DISTRICT OF FLORIDA

 Case number (ir known)                                                      Chapter 11

                                                                                                                            ❑   Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               4116

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non Individuals, is available.
                                                                                              -




 1.   Debtor's name                Consumer Advocacy Center Inc.

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification      XX-XXXXXXX
      Number (EIN)


4.    Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                   business

                                   500 East Broward Boulevard, Suite 1710                          173 Tehnology Dr. #202
                                   Fort Lauderdale, FL 33394                                       Irvine, CA 92618
                                  Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                   Broward                                                         Location of principal assets, if different from principal
                                  County                                                           place of business

                                                                                                   Number, Street, City, State & ZIP Code


5.    Debtor's website (URL)


6.    Type of debtor              ■   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                  ❑   Partnership (excluding LLP)

                                  ❑   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                                      Case 19-10655-SMG                        Doc 1           Filed 01/16/19             Page 2 of 4

 Debtor    Consumer Advocacy Center Inc.                                                                    Case number (irknown)
           Name


7. Describe debtors business A. Check one:
                                           ❑    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           ❑    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       ❑        Railroad (as defined in 11 U.S.C. § 101(44))
                                           ❑    Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                       ❑        Commodity Broker (as defined in 11 U,S.C. § 101(6))
                                       ❑        Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                       •        None of the above


                                       B. Check all that apply
                                       ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                       ❑        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

                                       ❑        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See hltp://www.uscourts.qov/four-dioit-national-association-naics-codes.




8. Under which chapter of the          Check one:
     Bankruptcy Code is the
                                       ❑        Chapter 7
     debtor filing?
                                       ❑        Chapter 9

                                       ■        Chapter 11. Check all that apply:
                                                                 ❑    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                      are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

                                                                ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), If the debtor is a small
                                                                     business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                     statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                     procedure in 11 U.S.C. § 1116(1)(B).
                                                                ❑    A plan is being filed with this petition.

                                                                ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                     accordance with 11 U.S.C. § 1126(b).
                                                                ❑    The debtor is required to file periodic reports (for example, 10K and 100) with the Securities and
                                                                     Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                     attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                     (Official Form 201A) with this form.
                                                                ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                       ❑       Chapter 12



9. Were prior bankruptcy               ▪       No.
    cases filed by or against
    the debtor within the last 8       ❑ Yes.
    years?
    If more than 2 cases, attach a
    separate list.                                   District                                  When                             Case number

                                                     District                                  When                             Case number


10. Are any bankruptcy cases           III No
     pending or being filed by a
     business partner or an            ❑ Yes.
    affiliate of the debtor?
    List all cases. If more than 1,
    attach a separate list                           Debtor                                                                    Relationship

                                                     District                                  When                           Case number, if known




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                 Case 19-10655-SMG                        Doc 1          Filed 01/16/19               Page 3 of 4

 Debtor     Consumer Advocacy Center Inc.                                                             Case number (if known)
            Name



 11. Why is the case filed in     Check all that apply:
      this district?
                                  •        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the dale of this petition or for a longer part of such 180 days than in any other district.

                                  ❑        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or        111 No
     have possession of any
     real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                  ❑ Yes.
     property that needs
     immediate attention?                     Why does the property need immediate attention? (Check all that apply.)

                                               ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?

                                               ❑ It needs to be physically secured or protected from the weather.

                                              ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                              ❑ Other
                                              Where is the property?
                                                                                Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                              ❑ No
                                              ❑ Yes. Insurance agency
                                                         Contact name
                                                         Phone



           Statistical and administrative information

13.   Debtor's estimation of               Check one:
      available funds
                                            ■ Funds will be available for distribution to unsecured creditors.
                                            ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.


14.   Estimated number of
      creditors
                                  ■ 1-49                                            ❑ 1,000-5,000                              ❑ 25,001-50,000
                                  ❑ 50-99                                           ❑ 5001-10,000                              ❑ 50,001-100,000
                                  ❑ 100-199                                         ❑ 10,001-25,000                            ❑ More than100,000
                                  ❑ 200-999


15.   Estimated Assets            ■ $0 - $50,000                                    ❑   $1,000,001 - $10 million               ❑   $500,000,001 -$1 billion
                                 ❑ $50,001 - $100,000                               ❑   $10,000,001 - $50 million              ❑   $1,000,000,001 - $10 billion
                                 ❑ $100,001 - $500,000                              ❑   $50,000,001 - $100 million             ❑   $10,000,000,001 - $50 billion
                                 ❑ $500,001 - 51 million                            ❑   $100,000,001 - $500 million            ❑   More than $50 billion


16.   Estimated liabilities      • $0 - $50,000                                    ❑ $1,000,001 - $10 million                  ❑ $500,000,001 - $1 billion
                                 ❑    $50,001 - $100,000                           ❑ $10,000,001 - $50 million                 ❑ $1,000,000,001 - $10 billion
                                 ❑ $100,001 - $500,000                             ❑ $50,000,001 - $100 million                ❑ $10,000,000,001 - $50 billion
                                 ❑ $500,001 - $1 million                           ❑ $100,000,001 - $500 million               ❑ More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                            Case 19-10655-SMG                         Doc 1         Filed 01/16/19                   Page 4 of 4
 DeUor     Consumer    Advocacy Center Inc.                                                        Case rrcrT:-..er (rpr.c..,)
           Nam*


           Request for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.

 17. Declaration and signature
     of authorized               The debtor requests relef in accordance with the chapter of title 11, United States Cede, specified in this petition.
     representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petticn and have a reasonable belief that the information is trued and oorrect.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Execut • on             I /1 5-1 (
                                                     MM r DO / YYYY


                                                                                                           Albert Kim
                                 Sign ure of authorized represent live of debtor                           Printed name

                                 Title    President




18. Signature of attorney    X
                                    nature of ernetf6r debtor                                               Dati MM/ Cli/
                                                                                                                        J 61
                                 Brian S. Behar
                                 Printed name

                                 Behar,   Gutt   &   Glazer, P.A.
                                 Firm name

                                 DCOTA, Suite A-350
                                 1855 Griffin Road
                                 Fort Lauderdale, FL 33004
                                 Number, Street, City, State & ZIP Code


                                 Contact phone 305-931-3771                      Erna,laddress bsb@bgglaw.corn


                                 727131 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
